56 F.3d 60NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Stephen Earl BAILEY, Plaintiff-Appellant,v.William B. DORSEY, Sheriff;  Employees of theWilliamsburg/James City County Jail, Defendants-Appellees.
    No. 95-6166.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 25, 1995.
    
      Stephen Earl Bailey, appellant pro se.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Stephen Bailey appeals the dismissal without prejudice of his pro se 42 U.S.C. Sec. 1983 (1988) complaint.  Bailey's complaint was dismissed without prejudice to Bailey's right to file a proper claim alleging facts that show specific injury to himself.  This Court may exercise jurisdiction only over final orders.  28 U.S.C. Sec. 1292 (1988);  FED. R. CIV. P  . 54(b).  Because Bailey may be able to save this action by amending his complaint, the dismissal order which Bailey seeks to appeal is not an appealable final order.  See Domino Sugar Corp. v. Sugar Workers Local Union 392, 10 F.3d 1064 (4th Cir.1993).  Accordingly, we dismiss the appeal.
    
    
      2
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    